IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF NORTH CAROLINA

ASHEVILLE DIVISION
C.A. No.: 1:24-ev-00057

NEW YORK LIFE INSURANCE AND
ANNUITY CORPORATION,

Interpleader Plaintiff |
Counterclaim Defendant,

Vv.

JOYCE DAVIS, REBECCA ANN
ELLISON, DONNA KAYE LEONARD,
VANDALYN DIANE ROSE, MARIA
ALAINA DIRHOLD,

Interpleader Defendants,

¥.

PHILLIPS FINANCIAL GROUP, LLC,
NYLIFE SECURITIES LLC,

Counterclaim Defendants.

CONSENT
JUDGMENT

FILED
ASHEVILLE, NC

DEC 31 2024

U.S, DISTRICT COURT
W. DISTRICT OF NLC.

This matter is before the Court upon presentation to the Court of a proposed

Consent Judgment submitted by the parties. The parties having agreed upon

resolution of this matter prior to a trial on the merits, having considered the facts and

applicable law, and having agreed to the entry of this Consent Judgment, the Court

makes the following:

I

Case 1:24-cv-00057-MR-WCM Document 60

Filed 12/31/24 Pagelofs8

the

FINDINGS OF FACT:

1. Plaintiff New York Life Insurance and Annuity Corporation
(@NYLIAC”) is a corporation organized and existing under the laws of the state of
Delaware with its principal place of business in New York.

2. Defendant Joyce Davis (“Joyce”) and Defendant Maria Dirhold

(“Maria”) are citizens and residents of McDowell County, North Carolina.

3. Defendant Rebecca Ann Ellison (“Rebecca”) is a citizen and resident
of the State of Virginia.
4, Defendant Donna Kaye Leonard (“Donna”) is a citizen and resident of

the State of Georgia.

5. Defendant Vandalyn Diane Rose (“Vandalyn”) is a citizen and resident
of Burke County, North Carolina.

6. Counterclaim Defendant Phillips Financial Group, LLC (“Phillips
Financial Group”) is a North Carolina limited liability company with a principal
office and registered office at 195 S. Main Street, Suite A, Marion, NC 28752

7. Proposed Counterclaim Defendant NYLIFE Securities LLC (“NYLIFE
Securities”) is a Delaware limited liability company registered to do business in the
State of North Carolina and a registered broker-dealer with the Securities and
Exchange Commission. Its principal office is located at 51 Madison Avenue, New

York, NY 10010. NYLIFE Securities is a named Counterclaim Defendant in Joyce

2
Case 1:24-cv-00057-MR-WCM Document60 Filed 12/31/24 Page2of8

and Maria’s Proposed Amended Counterclaims, as to which leave to file has not yet
been granted.

8. On February 20, 2024, Plaintiff brought this action in interpleader
concerning the proceeds of an annuity issued by the Plaintiff to Van Harold Davis
(“the Davis Annuity”), and seeking leave of Court to deposit the proceeds of the
annuity with the Court and be dismissed from the action.

9, On or about March 25, 2024, Plaintiff did, in fact, tender the
Interpleader Deposit in the amount of $666,876.24 with the Court, which continues
to be held as disputed funds (“the Disputed Interpleader Funds”).

10. Defendants Joyce, Maria, Rebecca, Donna, and Vandalyn have each
filed crossclaims seeking declaratory relief as to ownership of the Disputed
Interpleader Funds. Each Defendant has also asserted counterclaims against
NYLIAC arising out of the same transaction or occurrence that is the subject matter
of the Complaint for Interpleader, and NYLIAC has moved to dismiss all
counterclaims.

11. Joyce and Maria have also asserted related counterclaims against
Phillips Financial Group, and have sought leave of court to assert additional
counterclaims against NYLIFE Securities.

12. The parties to this action have now resolved all disputes and claims

among them related to the Disputed Interpleader Funds, including such claims as

3
Case 1:24-cv-00057-MR-WCM Document60_ Filed 12/31/24 Page 3of8

have been asserted in this action or that arose out of the same transactions and
occurrences that are the subject of this action and, therefore, could have been
asserted, The Parties have also agreed to the form of a Stipulation of Voluntary
Dismissal of all Claims with Prejudice.

13, The parties hereby consent and agree to entry of this Consent Judgment
without further notice and waive service thereof.

14. The parties expressly waive their rights to appeal or otherwise move for
relief from this Consent Judgment.

Based on the foregoing FINDINGS OF FACT the Court makes the following

CONCLUSIONS OF LAW:

15. This is an action in interpleader brought pursuant to 28 U.S.C. § 1332
and Fed. R. Civ. Pro. 22.

16. The Court has personal jurisdiction over all of the parties,

17. The Court has subject matter jurisdiction over the interpleader claim
because diversity of citizenship exists between the Plaintiff and the Defendants and
the amount in controversy exceeds $75,000.00. The Court may exercise
supplemental jurisdiction over the Counterclaims, which are compulsory and arise
out of the same transaction or occurrence that is the subject matter of the Complaint

for Interpleader and the several Crossclaims for declaratory relief.

4
Case 1:24-cv-00057-MR-WCM Document60_ Filed 12/31/24 Page4of8

18. Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391,
1397.

Based on the foregoing FINDINGS OF FACT and CONCLUSIONS OF
LAW, it is ORDERED, ADJUDGED and DECREED as follows:

1. The Disputed Interpleader Funds shali be disbursed by the Court as

follows:

go

. A Principal distribution of the Disputed Interpleader Funds in the

amount of $400,000 to Rebecca, Donna, and Vandalyn;

b. All remaining Principal of the Disputed Interpleader Funds to Joyce
Davis;

c. If any taxable income and/or gain is associated with the forgoing
Principal distributions, it shall be prorated among the parties in
accordance with each of her share of the distributed Principal;

d. Interest accrued on the Disputed Interpleader Funds between March
26 - August 20, 2024, in the amount of $8,605.85, to Joyce Davis;

e. All remaining interest accrued on the Disputed Interpleader Funds,

between August 21, 2024 through the date of distribution, to be

prorated fifty percent (50%) to Rebecca, Donna, and Vandalyn, and

fifty percent (50%) to Joyce;

5
Case 1:24-cv-00057-MR-WCM Document60_ Filed 12/31/24 Page5of8

f. The $400,000 distribution under paragraph l{a) and any interest
distributed to Rebecca, Donna, and Vandalyn under paragraph I(e)
shall be made payable to Rebecca Ann Ellison, Donna Kaye Leonard,
and Vandalyn Diane Rose, one-third each, and mailed to Timothy D.
Swanson, Esq., P.O. Drawer 2428, Hickory, NC 28603; and

g. All funds distributable to Joyce Davis under this paragraph 1 shall be
made payable to Joyce Davis and mailed to Heather Whitaker
Goldstein, The Van Winkle Law Firm, 11 North Market Street,
Asheville, NC 28801.

2. Within five (5) business days of disbursement of the Disputed
Interpleader Funds, the Parties shall file the agreed upon Stipulation of Voluntary
Dismissal of all Claims with Prejudice.

3. All parties are permanently enjoined from instituting any action or
proceeding against any other party in this or any other Court arising out of, or related
to, the Davis Annuity.

4, Each party shall bear its or her own costs and attorneys’ fees.

De cembe c
THIS, the 3' day of Nevember, 2024.

The Hgnorabl Martin Reidinger
United States Distfict Court Judge

6
Case 1:24-cv-00057-MR-WCM Document60_ Filed 12/31/24 Page6of8

CONSENTED TO AND RESPECTFULLY SUBMITTED:
NELSON MULLINS RILEY & SCARBOROUGH LEP

/s/ Chelsea Kay Barnes

Chelsea Kay Barnes

380 Knollwood St., Suite 530

Winston-Salem, NC 27103

336-774-3397

Attorneys for New York Life Insurance and Annuity Corporation

THE VAN WINKLE LAW FIRM

/s/ Heather Whitaker Goldstein

Heather Whitaker Goldstein, NC Bar No. 26194

11 N. Market Street

Asheville, NC 28801

Telephone: 828-258-2991

Facsimile: 828-257-2773

Attorneys for Joyce Davis and Maria Alania Dirhold

YOUNG MORPHIS BACH TAYLOR LLP

/s/ Timothy D. Swanson

Timothy D. Swanson

P, O. Drawer 2428

Post Office Drawer 2428

Hickory, NC 28603

828/322-4663

Attorneys for Rebecca Ellison, Donna Leonard, Vandalyn Rose

PARKER, POE, ADAMS & BERNSTEIN LLP

/s/ Nicholas H, Lee

Nicholas H. Lee, N.C. Bar No. 47885
620 South Tryon Street, Suite 800
Charlotte, NC 28202

Telephone: (704) 335-9876

7
Case 1:24-cv-00057-MR-WCM Document60_ Filed 12/31/24

Page 7 of 8

Facsimile: (704) 384-4706
nicholasliee@parkerpoe.com
Attorney for Phillips Financial Group, LLC

8
Case 1:24-cv-00057-MR-WCM Document60_ Filed 12/31/24 Page 8of8

